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                             UNITED STATES DISTRICT COURT

                              FOR DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
STATE OF CALIFORNIA, et al.,
ex rel. AZAM RAHIMI,

               Plaintiffs,

       v.                                                               1:15-CV-00916/KBM/LF

TARGET CORPORATION,

               Defendant.


            NOTICE OF CONSENT TO RELATOR’S VOLUNTARY DISMISSAL

       Relator filed Relator’s Rule 41 Notice of Voluntary Dismissal on August 5, 2019. Doc.

25.

       Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(1), the United States of America,

by its undersigned attorney, hereby respectfully notifies the Court that the Attorney General

consents to dismissal without prejudice to the United States.

                                             JOHN C. ANDERSON
                                             United States Attorney

                                             Electronically filed 8/14/19
                                             /s/ Ruth F. Keegan
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